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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

STACCATO CARLO VALENTINO         :
 BLAKELY a/k/a STILETTO CARLUCCI       :
 LUCIANO,                        :
                 Plaintiff       :
                                 :
     v.                          : CIVIL ACTION NO. PJM-05-3043
                                 :
STILLWATER MN. STATE PRISON      :
 MAIL ROOM EMPLOYEES OF          :
 SUPERVISOR MARY PEREZ, et al.,  :
                 Defendants

                                     MEMORANDUM

       On November 7, 2005, Plaintiff, presently incarcerated at the Faribault Minnesota State

Prison, filed the above-captioned case, seeking money damages and other relief and contending

that his constitutional rights are violated due to prison mail room practices and policies.

       Assuming that Plaintiff's allegations are sufficient to state a federal constitutional claim

under 42 U.S.C. § 1983, venue in this matter clearly is not proper in this Court. A civil action

that is not founded solely on "diversity of citizenship" may, except as otherwise provided by law,

be brought only: 1) in the judicial district where any of the defendants reside, if all defendants

reside in the same State; 2) in a judicial district in which a substantial part of the events or

omissions giving rise to the claim occurred; or 3) in a judicial district in which any defendant

may be found, if there is no other district in which the action may otherwise be brought. See 28

U.S.C. § 1391(a). In the instant action, Defendants are stationed in Minnesota, not Maryland.

Moreover, the denial of civil rights allegedly occurred in Minnesota.

       Accordingly, for the convenience of the parties and in the interest of justice, a separate

order shall be entered in accordance with the opinion set forth above, transferring this case,

pursuant to 28 U.S.C. § 1404(a), to the United States District Court for the District of Minnesota.
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Determination of indigency status will be deferred for consideration by the Minnesota court.



                                                       /s/
                                                  PETER J. MESSITTE
November 14, 2005                           UNITED STATES DISTRICT JUDGE
